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                                   STATE OF MICHIGAN

                IN THE CIRCUIT COURT FOR THE COUNTY OF SAGINAW


LATOYA CALDWELL-MARSHALL,

              Plaintiff,

  vs.                                                 Case No. 19-038443-CD-3

SAGINAW TRANSIT AUTHORITY                             Hon.
REGIONAL SERVICES “STARS”,

              Defendant.
                                                 /

MANDA L. DANIELESKI P62597                      MICHAEL D. WEAVER P43985
Attorney for Plaintiff                          Plunkett Cooney
905 North Michigan Avenue                       Attorneys for Defendant
Saginaw, MI 48602                               38505 Woodward
(989) 401-7890                                  Suite 100
westervm@gmail.com                              Bloomfield Hills, MI 48034
                                                (248) 901-4025
                                                mweaver@plunkettcooney.com




                               NOTICE OF FILING REMOVAL

TO:           CLERK OF THE COURT, Saginaw County Circuit Court
              Manda L. Danieleski, Esq.


              PLEASE TAKE NOTICE that Defendant, SAGINAW TRANSIT AUTHORITY

REGIONAL SERVICES, by and through their attorneys, PLUNKETT COONEY, hereby files

herewith, pursuant to 28 U.S.C. 1446(a), to the Clerk of the Circuit Court for the County of

Saginaw, State of Michigan, a true copy of their Notice of Removal of this cause from the

Circuit Court for the County of Saginaw, State of Michigan, to the United States District

Court for the Eastern District of Michigan, Southern Division.
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                                   Respectfully submitted,

                                   PLUNKETT COONEY

                                   /s/Michael D. Weaver_________
                                   MICHAEL D. WEAVER (P43985)
                                   Attorney for Defendant STARS
                                   38505 Woodward Avenue # 100
                                   Bloomfield Hills, MI 48304
                                   (248) 901-4025
                                   mweaver@plunkettcooney.com


Dated: February 14, 2019




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                                   STATE OF MICHIGAN

                IN THE CIRCUIT COURT FOR THE COUNTY OF SAGINAW


LATOYA CALDWELL-MARSHALL,

              Plaintiff,

  vs.                                                 Case No. 19-038443-CD-3

SAGINAW TRANSIT AUTHORITY                             Hon.
REGIONAL SERVICES “STARS”,

              Defendant.
                                                 /

MANDA L. DANIELESKI P62597                      MICHAEL D. WEAVER P43985
Attorney for Plaintiff                          Plunkett Cooney
905 North Michigan Avenue                       Attorneys for Defendant
Saginaw, MI 48602                               38505 Woodward
(989) 401-7890                                  Suite 100
westervm@gmail.com                              Bloomfield Hills, MI 48034
                                                (248) 901-4025
                                                mweaver@plunkettcooney.com



                  NOTICE OF REMOVAL TO UNITED STATES DISTRICT
                      COURT, EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


TO:           HONORABLE JUDGES OF THE U.S. DISTRICT COURT
              Eastern District of Michigan, Southern Division
              Manda L. Danieleski, Esq.


              Defendant, SAGINAW TRANSIT AUTHORITY REGIONAL SERVICES, in this

action, originally pending in the Circuit Court for the County of Saginaw, Civil Action No. 19-

038443-CD-3 hereby removes this action to the United States District Court for the Eastern
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District of Michigan, Southern Division. In support of this Removal, Defendant states as

follows:

                  1.   There was commenced and is now pending in the Circuit Court for the

County of Saginaw, the above action in which LaToya Caldwell-Marshall is the Plaintiff.

Saginaw Transit Authority Regional Services (hereinafter “STARS”) is the Defendant.

                  2.   Defendant is seeking removal based upon a federal question

presented in Plaintiff’s Complaint; to wit: The Family & Medical Leave Act. Therefore, this

Removal is appropriate.

                  3.   The District Court of the United States is given jurisdiction under 28

U.S.C. 1332(a)(1), and this action is removable to this Court under 28 U.S.C. 1441(a).

                  4.   This notice is filed with this Court within thirty (30) days after the

date of service of process upon this Defendant, said service of process having taken place

on or about January 25, 2019.

                  5.   A copy of this notice shall be given to all adverse parties, as required

by law.

                  6.   A true and correct copy of this Notice of Removal will be filed with the

Clerk of the Circuit Court for the County of Saginaw, State of Michigan, as provided by law.

                  7.   Defendant files herewith and by reference make a part hereof a true

and correct copy of all process, pleadings, and orders purportedly served upon Defendant

in this action.

                  WHEREFORE, Defendant, SAGINAW TRANSIT AUTHORITY REGIONAL

SERVICES, by and through its attorneys, PLUNKETT COONEY, respectfully requests that

this Court remove this action from the Circuit Court for the County of Saginaw, State of



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Michigan to the United States District Court for the Eastern District of Michigan, Southern

Division.

                                             PLUNKETT COONEY

                                             /s/Michael D. Weaver_________
                                             MICHAEL D. WEAVER P43985
                                             Attorneys for Defendant STARS
                                             38505 Woodward
                                             Suite 100
                                             Bloomfield Hills, MI 48034
                                             Tele: (248) 901-4025
                                             mweaver@plunkettcooney.com

Dated: February 14, 2019


                                      PROOF OF SERVICE

                 I hereby certify that on February 14, 2019, a copy of Notice of Filing Removal

and Notice of Removal were filed and the attorney of record was notified via first class mail

at the following address:

                 Manda L. Danieleski, Esq.
                 Attorney at Law
                 905 North Michigan Avenue
                 Saginaw, MI 48602


                                             PLUNKETT COONEY

                                             /s/Michael D. Weaver_________
                                             MICHAEL D. WEAVER P43985
                                             Attorneys for Defendant STARS
                                             38505 Woodward
                                             Suite 100
                                             Bloomfield Hills, MI 48034
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